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EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 1:13-cv-20878-KMM
UNIVERSAL GREENS CORP.,
a Florida Corporation d/b/a
UNIVERSAL GREENS and FLOWERS,

Plaintiff,
VS.

UNIVERSAL FLOWERS, CORP.,
a Florida Corporation d/b/a UNIVERSAL FLOWERS,

Defendant.
/

JOINT MOTION FOR ENTRY OF STIPULATED CONSENT FINAL JUDGMENT,
PERMANENT INJUNCTION, AND ORDER APPROVING SETTLEMENT
AGREEMENT

The Plaintiff UNIVERSAL GREENS CORP. d/b/a UNIVERSAL GREENS AND
FLOWERS (‘Plaintiff’) and Defendant UNIVERSAL FLOWERS, CORP. (“Defendant”),
(Plaintiff and Defendant are collectively referred to as the “Parties”) move the Court for the entry
of a stipulated consent final judgment, a permanent injunction, and an order approving the
Settlement Agreement, which is attached hereto as “Exhibit A,” on the following grounds and
state:

1. Plaintiff filed this Civil Action in the United States District Court for the Southern
District of Florida, Case No. 13-cv-20878-KMM, asserting that Defendant engaged in trademark
infringement, unfair competition, trademark dilution, and seeking a cancellation of Defendant’s

registration for the use of the service mark “Universal Flowers” pursuant to Section 495.101,

Florida Statutes.
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2. Defendant has failed to filed an answer or any responsive pleading to the
Complaint, and has acknowledged that Plaintiff is the common law owner of the entire right, title
and interest in and to Plaintiff's Marks as defined in the Complaint, [D.E. 1]. Defendant also
acknowledged that its unauthorized use of Plaintiff's Marks constituted trademark infringement.

3. As a result of such infringement and unauthorized use by Defendant, actual
consumer confusion in the flowers and floral greens industry was manifested and made apparent,
and further caused consumer confusion by suggesting that Defendant and Plaintiff were one and
the same, or that they were affiliated, sponsored by Plaintiff, licensed by Plaintiff, or suggested
some other type of connection or association between Defendant and Plaintiff.

4. In furtherance of Defendant’s acknowledgements and the manifestations stated
above, the Parties prefer to avoid the cost, time and expense of proceeding with the instant action
and have entered into the Settlement Agreement.

5. As part of the Settlement Agreement, the Parties have agreed that a Stipulated
Consent Final Judgment and Permanent Injunction, in the identical form attached as “Exhibit
B,” be entered against the Defendant in this action.

WHEREFORE, Plaintiff and Defendant, through their respective undersigned counsel,
respectfully request the Court enter a Stipulated Consent Final Judgment and Permanent

Injunction and Order Approving Settlement Agreement in the form attached hereto as Exhibit B.

[Signatures on following page |
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Respectfully submitted,

TEeEW CARDENAS LLP

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CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that a true and correct copy of the foregoing was served by the
CM/ECF system, which will send a notice of electronic filing, on May 6, 2013, on all counsel of

record on the Service List below.

/s/Jerry J. Campos
Counsel
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SERVICE LIST

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EXHIBIT A

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 1:13-cv-20878-KMM
UNIVERSAL GREENS CORP.,
a Florida Corporation d/b/a
UNIVERSAL GREENS and FLOWERS,

Plaintiff,
VS.

UNIVERSAL FLOWERS, CORP.,
a Florida Corporation d/b/a UNIVERSAL FLOWERS,

Defendant.
/

STIPULATED CONSENT FINAL JUDGMENT, PERMANENT INJUNCTION,
AND APPROVAL OF SETTLEMENT AGREEMENT

This matter having been brought before the Court by Plaintiff, UNIVERSAL GREENS
CORP. d/b/a UNIVERSAL GREENS AND FLOWERS (‘Plaintiff’), by and through its
attorneys, and by Defendant UNIVERSAL FLOWERS, CORP. (“Defendant”), by and through
its attorneys, and the Parties having consented to the terms and conditions set forth in this Order,

IT IS HEREBY ORDERED AND ADJUDGED that,

I. Final Judgment, which is effective immediately, is hereby entered in favor of

Plaintiff and against Defendant.

2. Defendant and its employees, officers, agents, servants, members, confederates,
affiliates, subsidiaries, independent contractors, successors, assigns and all those who act in
concert or participation with it, are hereby permanently enjoined and restrained from:

a. Directly or indirectly using the designation and service mark

UNIVERSAL and/or UNIVERSAL FLOWERS, or any other word or words spelled, arranged,
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or pronounced, or confusingly similar to Plaintiffs Mark,' whether alone or as a part of a longer
or composite identifier, (including but not limited to use in any advertising, invoices, stationery,
directory listings, domain names, websites, including Facebook or any other form of social
media or similar tool, internet metatags, keywords for internet search engines, post URL or
forwarding commands, hyperlinks, and any other electronic and search terms) in commerce in
connection with the activities of Defendant, or in the rendering of services or the sale of goods
related to those of Plaintiff;

b. Otherwise infringing on Plaintiff's Mark;

Cc. Advertising, marketing or selling any product or service in commerce or
any internet domain name under the name or mark “UNIVERSAL” or “UNIVERSAL
FLOWERS,” or any phrases which are spelled, arranged or pronounced similarly to those
phrases

d. Competing unfairly with Plaintiff through the use of any word, symbol or
device that is confusingly similar to Plaintiff's Mark and further diluting and/or infringing all of
Plaintiffs’ Intellectual Property and damaging Plaintiffs’ goodwill and reputation;

€. Passing off any of Defendant’s goods or services as those of Plaintiff's;

f. Engaging in any conduct likely to cause confusion or misunderstanding as
to the source or sponsorship of Defendant’s goods and/or services;

g. Engaging in any conduct that is calculated or likely to cause confusion or

misunderstanding as to Defendant’s affiliation, connection or association with Plaintiff; and

 

' “Plaintiffs Marks” refers to Plaintiffs trademark, service mark, and trade name
“UNIVERSAL,” “UNIVERSAL GREENS,” and “UNIVERSAL GREENS AND FLOWERS,”
as well as all common law rights and goodwill associated therewith, represented hereby and

appurtenant thereto.
2
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h. Using any domain name and/or email addresses bearing the name
“Universal” or “Universal Flowers,” including but not limited to

“universalflowerscorp@gmail.com”.

i, Applying for any state or federal registration of the trade name, trademark,
or service mark UNIVERSAL, UNIVERSAL FLOWERS, or UNIVERSAL FLOWERS, CORP.,
whether alone or as a part of a longer or composite identifier, or any other reproduction,

counterfeit, copy or colorable imitation of Plaintiff's Mark.

3, Defendant stipulates and agrees to the Plaintiffs lawful use and ownership over
Plaintiff's Marks, and further stipulates and agrees that Plaintiff's Marks are valid and
enforceable marks in connection with Plaintiff's products and services in the flowers and floral
greens industry.

4, In addition, the Joint Motion for Entry of Stipulated Consent Final Judgment,
Permanent Injunction, and Order Approving Settlement Agreement, and the Settlement
Agreement entered into between the parties is hereby approved, adopted, and ratified by the
Court, and the parties are directed to abide by its terms, as well as the terms of the Settlement
Agreement.

5. This Court hereby retains jurisdiction solely for the purpose of enforcing the
terms of the Settlement Agreement in all respects, as well as this Judgment.

DONE AND ORDERED in Chambers at Miami, Miami-Dade County, Florida, this

day of May, 2013.

 

K. MICHAEL MOORE
United States District Judge
